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                      IN THE UNITED STATES DISTRICT COUT
                         FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                  |
                                           |
 v.                                        |             No.: 21-CR-00399-RDM
                                           |
 ROMAN STERLINGOV                          |



                        MOTION TO APPEAR PRO HAC VICE

       IT IS ORDERED that the Motion of Tauseef S. Ahmed to appear pro hac vice as counsel
for Defendant Roman Sterlingov is GRANTED.


                    Signed on September ____, 2023


                                                _______________________________
      `                                         HON. RANDOLPH D. MOSS
                                                UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF COLUMBIA
